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                      IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION
    IN RE:                                          § CASE NUMBER: 20-30825
                                                    §
    TEXAN SUPER DEALER, INC.,                       §
    DEBTOR(S)                                       §
                                                    § CHAPTER 7

     NOTICE OF SUBSTITUTION OF COUNSEL AND REQUEST FOR NOTICES


       COMES NOW, H. Gray Burks, IV of the law firm of Shapiro Schwartz, LLP and files this

notice of substitution of counsel. This Notice terminates Gwendolyn Simpson and the firm of G.

Simpson Law, PLLC as counsel and substitutes H. Gray Burks, IV, as attorney in charge, and the

firm of Shapiro Schwartz, LLP as counsel for Pactum Capital, LLC, a secured creditor of Debtor.

       Shapiro Schwartz, LLP requests receipt of all copies of notices and pleadings, including but

not limited to all notices sent pursuant to Rule 2002 of the Bankruptcy Rules and all copies of all

pleadings filed pursuant to Bankruptcy and Local Rules 4001, 9007, and 9013. Copies of all such

notices and pleadings should be sent to:

                                        H. Gray Burks, IV
                                      Shapiro Schwartz, LLP
                                        gburks@logs.com


                                              Respectfully submitted,
                                              SHAPIRO SCHWARTZ, LLP

                                           By: /s/ H. Gray Burks, IV
                                              H. Gray Burks, IV
                                              State Bar No. 03418320
                                              Shapiro Schwartz, LLP
                                              13105 Northwest Freeway, Suite 1200
                                              Houston, TX 77040
                                              Telephone: (713) 462-2565
                                              Facsimile: (847) 879-4823
                                              Email: gburks@logs.com
                                              Attorney for Pactum Capital, LLC



                                     NOTICE OF APPEARANCE & COS
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                               CERTIFICATE OF SERVICE


       I hereby certify that the foregoing Notice of Appearance and Request for Notices was
served on April 29, 2020 via ECF/CMM electronic notice as follows:


(By CM/ECF)
DEBTOR'S ATTORNEY:
H. Miles Cohn
Crain, Caton & James, P.C.
1401 McKinney
17th Floor
Houston, TX 77010

Michelle Valadares Friery
Crain, Caton & James, P.C.
1401 McKinney
Ste1700
Houston, TX 77010


(By CM/ECF)                                  (By CM/ECF)
BANKRUPTCY TRUSTEE:                          U.S. TRUSTEE:
Eva S Engelhart                              US Trustee
Ross Banks May Cron and Cavin PC             Office of the US Trustee
2 Riverway Ste 700                           515 Rusk Ave Ste 3516
Houston, TX 77056                            Houston, TX 77002




                                             /s/ H. Gray Burks, IV
                                            H. Gray Burks, IV




                                   NOTICE OF APPEARANCE & COS
                                          20-035955 - BK01
